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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

LIL’ JOE RECORDS, INC.,
Plaintiff,
Vv. CASE NO. 1:21-CV-23727-DPG

MARK ROSS; ef ai.,

Smee Mammen Neel Cee ee Meet” Nee” ome

Defendants.

)

DECLARATION OF MARK ROSS IN SUPPORT OF MOTION FOR PARTIAL
SUMMARY JUDGMENT
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DECLARATION OF MARK ROSS

1, Mark Ross, depose, attest, and say from my personal knowledge, the following:

I I, Mark Ross, performed in the group named “2 Live Crew” with Luther
Campbell, Christopher Wong Won, and David Hobbs.

ay J am a joint creator author, with the others in 2 Live Crew, of the albums entitled
The 2 Live Crew is What We Are, Move Somethin’, Move Somethin’ (Clean), As Nasty As They
Wanna Be, and As Clean As They Wanna be (“Subject Albums”) which were written, recorded,
and published from 1986 and 1989.

3. The members of 2 Live Crew including myself at the time we recorded each of
the Subject Albums, had an oral agreement when we went into the studio about how the rights,
including copyrights, for those albums would be treated. Under that agreement, the copyright for
the albums would be transferred to the record label or publishers that Luther Campbell
(“Campbell”) set up and that entity would release the albums and make payments to the group.
Campbell set up a record label Skyywalker Records, Inc. and the group transferred the
copyrights for the Subject Albums to Skyywalker Records. 2 Live Crew and Skyywalker records
performed under this oral agreement at all times from 1986 to 1990.

4, 2 Live Crew recorded the Subject Albums from 1986 to 1990.

5. Campbell released the Subject Albums through his label Skyywalker Records or
its other iterations.

6. Skyywalker Records or its other iterations paid me and the other members of 2
Live Crew a royalty for the recordings delivered.

7 When 2 Live Crew was the subject of copyright and obscenity lawsuits relating to
the Subject Albums, Skyywalker Records or its iterations were named parties to those actions
because it was an owner of the copyrights.

8. In or around 1990, the members of 2 Live Crew including myself executed a
written agreement with Skyywalker Records that memorialized the prior oral agreement between
the parties (the “1990 Agreement”). The 1990 Agreement states it has an effective date of
January 1, 1987 and is between 2 Live Crew and Skyywalker Records, Inc., the successor to
Luke Skyywalker Records, Inc.

oD Skyywalker Records and its successors held the copyrights for the Subject

Albums per the 1990 Agreement at all relevant times until its successor and Campbell declared
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bankruptcy in 1995.

10. The 1990 Agreement relates to the Subject Albums and to the extent that said
agreement does not meet any technical requirements for an effective transfer the operative
agreement would be the oral license that the 1990 Agreement sought to memorialize.

11. 2 Live Crew and Skyywalker Records (as well as Skyywalker Records'
predecessor, Luke Skyywalker Records) complied with and operated under the terms of the 1990
Agreement, including as renewed, in the release of the Subject Albums and payments made
thereunder. The record companies released the Subject Albums to the public and paid royalties to
2 Live Crew.

12. The 1990 Agreement specifically states in paragraph 3: “Artist hereby grants to
Company the sole and exclusive right during the initial term of this Agreement and all renewals
and extensions of the same to use, publish and permit other to use and publish...” Thus, the
agreement included a right to publish, also in line with the parties oral agreement.

13. The 1990 Agreement also states in paragraph 2(d): “Company shall! own all
master recordings embodying the performance of Artist made hereunder and all derivatives of
the same; and Company shall further own all of the performances of Artist embodied in said
master recordings and derivatives thereof. Without limiting the generality of the forgoing,
Company's said rights of ownership shall include the sole and exclusive right to manufacture,
advertise, sell, lease, license or otherwise use, deal in or dispose of records embodying the
performances of Artist to be recorded hereunder in all fields of use perpetually and throughout
the world and upon terms and conditions as Company may approve: and the sole and exclusive
right publicly to perform Artists performances embodied in recordings hereunder by means of
radio broadcasting or otherwise and to license and authorize others to do so perpetually and
throughout the world upon such terms and conditions as Company may approve. All master
recordings recorded during the term here of and all derivatives manufactured therefrom, together
with the performances embodied thereof shall from the inception of their creation, be entirely
and forever the property of the Company, or its designee free from any claims whatsoever by
Artist or any person, firm or corporation deriving any rights or interests from Artist; and
company shall have the right to assign and otherwise transfer such copyrights to any third party,
free and clear of any claim by Artist or any person, firm or corporation, deriving any rights from

Artist.” This evidences the parties intent to transfer copyrights in the works to Skyywalker
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Records.

14. The operative 1990 Agreement does not contain a work-for-hire clause.

15. Lil? Joe has not, and cannot, argue the existence of any agreements other than the
clearly inapposite agreements from 1991.

16. On November 4, 2020, over two years before the earliest date of effective
termination (November 7, 2022) and less than 10 years from the last date of effective termination
(May 1, 2024), Luther Campbell, the heirs of Christopher Wong Won, and I comprising and
representing 3 of the 4 members of 2 Live Crew served a noticed termination of its original
copyright grants under 17 U.S.C, § 203 (the “Termination Notice”). The grants terminated in the
Termination Notice included the right of publication.

17. The Termination Notice was served on November 4, 2020, upon all possible
rights holders, including Lil’ Joe, via first-class mail (return receipt requested) and when possible
electronic mail.

18. The date of publication for the first Subject Album The 2 Live Crew Is What We
Are was provided in the termination notice as December 1, 1986 and the notice listed a date of
effective termination of November 7, 2022, which is over 35 years from the date of publication
and within 5 year window beginning on December 1, 2021. The date listed of first publication on
the earliest filed composition copyright registration for the songs on the identified Subject
Album.

19. The date of publication of the second and third Subject Albums Move Somethin’
and Move Somethin’ (Clean) was provided in the termination notice as March 21, 1988 and the
notice listed a date of effective termination of March 21, 2023, within the required timeframe.
The date listed of first publication on the February 26, 2001 sound recording copyright
registrations for the album Move Somethin’.

20. The date of publication of the fourth and fifth Subject Albums As Nasty as They
Wanna Be and As Clean as They Wanna Be was provided in the termination notice as May 1,
1989 and the notice listed a date of effective termination of May 1, 2024, again within the
required timeframe. The date listed of first publication on the February 26, 2001 sound recording
copyright registrations for the identified Subject Albums.

21. While I participated in various bankruptcy proceedings and agreements, none of
those divested me of my rights under 17 U.S.C. § 203. Said rights had not vested at the time of
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those proceedings and were not part of any relevant bankruptcy estate. One such bankruptcy
ended in a settlement agreement between me and Lil’ Joe. That agreement did not include any
language regarding termination rights to my original grants of copyright because those rights had
not vested.

2].  Lentered into various agreements related to my intellectual property rights, but
none of those divested me of my rights under !7 U.S.C. § 203. Said rights had not vested at the
time of those agreements and were not part of any of those agreements.

22. Ultimately, through bankruptcy proceedings involving Campbell and his entity
Luke Records, Inc. (formerly Skyywalker Records and Luke Skyywalker Records, Inc.) Lil’ Joe
came to own the copyrights in the Subject Albums. None of the purported agreements provided
by Lil’ Joe in this case even discuss termination rights, and any language relating to royalties
and/or profits or acknowledging Lil’ Joe’s rights or interests in the master and/or publishing of
any 2 Live Crew related copyrights does not and cannot extinguish my rights under 17 U.S.C. §
203.

23. When I created and authored the Subject Albums, I, like the others in 2 Live
Crew, did so as independent contractors and not employees.

24. 2 Live Crew made all creative decisions in creating the Subject Albums.

25. The Subject Albums were not “works for hire.”

26. Any 1991 agreements referenced by Plaintiff could not relate to the Subject
Albums and were entered into after the Subject Albums were created. They contemplate only
future recordings and could not passibly cover the Subject Albums, each of which was written,
recorded, released, and in some cases registered with the Copyright Office well before 1991.

27. The copyright registrations for the Subject Albums do not indicate that they were
works for hire except in limited and often fraudulent cases.

28. The record company had no right to control the creative process for the songs, At
most the record company made suggestions and contributions relating to the songs on the Subject
Albums. 2 Live Crew made the artistic decisions. Further, Sicyywalker Records, Inc. or any other
record company did not have the ability to arbitrarily assign additional projects outside 2 Live
Crew’s obligation to create and deliver the required works.

29. 2 Live Crew had the freedom to create their own schedule and did not have

assigned times each day to work and simply had the deadline to deliver an album, but otherwise
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had absolute freedom to decide when to work.

30. It took considerable skill required to create, perform, and record the songs on the
Subject Albums. Each member of contributed to the compositions and recording and Lil’ Joe,
Skyywalker Records, Inc., Pac Jam Publishing, or any other contracting entity would not have
been able to create and replicate the Subject Albums due to the high level of creativity and skill.
2 Live Crew has over the course of our career written and produced several gold albums and one
platinum album.

31. The Subject Albums were written and recorded in third-party studios not at the
location of Skyywalker Records, Inc. or any other possible “employer.”

32. The record label did not provide me or 2 Live Crew’s members with health
insurance, paid vacation time, worker's compensation benefits, a pension plan, or other types of
benefits.

33. | Therecord label! did not have the right to assign to 2 Live Crew additional
projects.

34, 2. Live Crew had the right to receive royalties from, at the very least, BMI in
connection with our creation of the Subject Albums, and received such royalties, which is
inconsistent with “employee” status. | received payment under the 1990 Agreement.

35. 2 Live Crew created the songs not at the offices of the music company but at their
homes and off-site recording studios.

36. 2 Live Crew’s relationship with Skyywalker Records was brief, as the company
went out of business in the mid-199Ds.

37. 2 Live Crew had discretion over our day-to-day schedule and decided when,
where, and how long to work on the Subject Albums.

38. 2 Live Crew received per diem checks at some point beginning in mid-1987, and
while some of them were marked “payroll,” those payments were not compensation for the
creation of the Subject Albums. The Subject Albums were not created within the scope of my

employment with any company.

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39. have not used the 2 Live Crew name or trademark as a mark. Any use of the 2
Live Crew trademark by a third-party is limited to a description that I was formerly a member of
2 Live Crew to describe who I am. There is likewise no evidence I have adopted the 2 Live Crew
mark or one substantially similar. I ar also not aware of any consumer confusion related to any

purported use by third-parties of a2 Live Crew name as a descriptor.

| declare under perjury under the laws of the United States of America that the foregoing

is true and correct.

Executed on November 30, 2022 at

at De
By: Ws (Dac 1, 2022 29:00 EST}

Mark Mark

Signature:

Email: scott@donigerlawfirm.com
